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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 LUMINATI NETWORKS LTD.,                          §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §    CIVIL ACTION NO. 2:18-CV-00299-JRG
                                                  §
 UAB TESONET, UAB METACLUSTER                     §
 LT,                                              §
                                                  §
                Defendants.                       §

                                             ORDER

       Before the Court is Plaintiff Luminati Networks Ltd.’s (“Luminati”) Unopposed Motion to

Vacated Indefiniteness Finding of Claim 108 of U.S. Patent 9,241,044 (the “Motion”). (Dkt. No.

327.) In the same, Luminati requests that this Court vacate the Court’s prior finding in the Court’s
    . Construction Orders (Dkt. Nos. 121, 192) that Claim 108 of U.S. Patent No. 9,241,044 (the
Claim

“’044 Patent”) is invalid for indefiniteness. The Motion is unopposed. Having considered the

Motion and its unopposed nature, the Court finds it should be and hereby is GRANTED.

       Accordingly, this Court’s prior finding in its Claim Construction Orders (Dkt. Nos. 121,

192) that Claim 108 of the ’044 Patent is invalid for indefiniteness is hereby VACATED BY

AGREEMENT OF THE PARTIES.


       So ORDERED and SIGNED this 4th day of February, 2020.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
